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                               Exhibit 3
 Case:1:24-cv-04114
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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Microsoft Corporation
                                                          Plaintiff,
v.                                                                     Case No.:
                                                                       1:24−cv−03255
                                                                       Honorable Sunil R.
                                                                       Harjani
The Partnerships And Unincorporated Associations
Identified On Schedule A,
                                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, May 15, 2024:


        MINUTE entry before the Honorable Sunil R. Harjani: Plaintiff has filed a
Memorandum [19] establishing joinder as directed. At this preliminary stage and in the
absence of adversarial presentation, the Court finds that joinder of 217 Defendants is
proper at this time and this case may now proceed. Moreover, no defendants will be
prejudiced by permitting joinder at this juncture. See Bose Corp. v. Partnerships &
Unincorporated Associations Identified on Schedule "A", 334 F.R.D. 511, 517 (N.D. Ill.
2020). To the extent any defendant appears and objects to joinder, the Court will revisit
the issue and is free to sever certain defendants from the case under Rule 21 at that time.
Id. Plaintiff's motion for leave to file certain documents under seal [3], ex parte motion for
a temporary restraining order, including a temporary injunction, a temporary asset
restraint, and expedited discovery [12], and motion for electronic service of process [16]
are granted. Plaintiff#039;s submissions establish that, were defendants to learn of these
proceedings before the execution of plaintiff's requested preliminary injunctive relief,
there is a significant risk that defendants could destroy relevant documentary evidence and
hide or transfer assets beyond the reach of the Court. Accordingly, subject to unsealing at
an appropriate time, plaintiff may file under seal the documents identified in the motion to
seal. The Temporary Restraining Order being entered along with this minute order shall
also be placed under seal. In addition, for the purpose of the motions cited above,
plaintiff's filings support proceeding on an ex parte basis at this time. Specifically, and as
noted above, were defendants to be informed of this proceeding before a TRO could issue,
the Court finds that it is likely that their assets and websites would be redirected, thus
defeating plaintiff's interests in identifying defendants, stopping defendants' infringing
conduct, and obtaining an accounting. In addition, the evidence submitted by plaintiff
shows a likelihood of success on the merits (including evidence of active infringement and
sales into Illinois), that the harm to plaintiff is irreparable, and that an injunction is in the
public interest. An injunction serves the public interest because of the consumer confusion
caused by counterfeit goods, and there is no countervailing harm to defendants from an
order directing them to stop infringement. Electronic service of process does not violate
any treaty and is consistent with due process because it effectively communicates the
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pendency of this action to defendants. Expedited discovery is warranted to identify
defendants and to implement the asset freeze. Enter Sealed Temporary Restraining Order
at 4:30 p.m. on 5/15/2024. Plaintiff shall file the TRO extension motion (or a preliminary
injunction motion) if appropriate no later than 5/22/2024. Telephone status hearing is set
for 5/29/2024 at 9:15 a.m. Members of the public and media will be able to call in to listen
to this hearing but will be placed on mute. The call−in number is (855) 244−8681 and the
access code is 172 628 1276##. Persons granted remote access to proceedings are
reminded of the general prohibition against photographing, recording, and rebroadcasting
of court proceedings. Mailed notice(lxs, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
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